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 8                        UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
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12    XAVIER NAILING,                          Case No. 2:20-cv-07559-AB-JC
13                       Plaintiff,
                                               JUDGMENT
14                  v.
15    LULA ESKANDER, et al.,
16
17                       Defendants.
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19
20         In accordance with the Memorandum Opinion and Order Dismissing Action,
21 IT IS HEREBY ADJUDGED that this action is dismissed without prejudice.
22
23 DATED: December 2, 2021
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26                                    _______________________________________
27                                    HONORABLE ANDRE BIROTTE JR.
                                      UNITED STATES DISTRICT JUDGE
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